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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                                        (Chapter 11)

ARROW AIR, INC. AND                                           Case number 10-28831-AJC
ARROW AIR HOLDINGS CORP.,                                     Case number 10-28834-AJC

            Debtors.                                          (Jointly Administered under
________________________________/                             Case number 10-28831-AJC)

BARRY E. MUKAMAL, Liquidating Trustee,
on behalf of the Arrow Air Creditor                           Adv. Case No. 12-_________
Trust,

         Plaintiff,

v.

MICROSOFT LICENSING, GP,

      Defendant.
_____________________________________/

                         COMPLAINT TO AVOID AND RECOVER
                            PREFERENTIAL TRANSFERS


         BARRY E. MUKAMAL, the Liquidating Trustee (the “Trustee” or the “Plaintiff”) of the

Arrow Unsecured Creditor Trust1 (the “Trust”), successor to and representative of the

administratively consolidated bankruptcy estates of above-captioned Debtors, pursuant to

Sections 502(d), 547(b) and 550(a) of Title 11 of the United States Code (the “Bankruptcy

Code”) and Rule 7001 of the Federal Rules of Bankruptcy Procedure, hereby sues Defendant,

MICROSOFT LICENSING, GP (the “Defendant”), to avoid and recover preferential transfers

made to or for the benefit of Defendant, and, in support thereof, Plaintiff alleges as follows:


1
  All capitalized terms not otherwise defined herein shall have the meanings ascribed in the Amended
Joint Chapter 11 Plan of the Debtors [D.E. 378].
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                       THE PARTIES, JURISDICTION, AND VENUE

       1.      On June 30, 2010 (the “Petition Date”), the Debtors each filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the Southern District of Florida, Miami Division.

       2.      On November 17, 2010, the Debtors filed their Amended Joint Chapter 11 Plan of

the Debtors [D.E. 378] (the “Plan”), which was approved and confirmed by this Court on

December 17, 2010 per its Order Confirming Amended Joint Chapter 11 Plan of the Debtors

[D.E. 473] (the “Confirmation Order”).

       3.      Pursuant to the Plan, Confirmation Order, and Liquidating Trust Agreement for

the Arrow Unsecured Creditor Trust (the “Unsecured Creditor Trust Agreement”), the Trustee is

the duly appointed and acting Trustee of the Trust.

       4.      Pursuant to the confirmed Plan, the Plaintiff, on behalf of the Trust and as

successor to the Debtors under 11 U.S.C. §1123, has the authority pursue, litigate or settle this

adversary case.

       5.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (F) and (O), and

the Trustee consents to the entry of final orders and judgment by the Bankruptcy Court in

accordance with Fed. R. Bankr. P. 7008(a).

       6.      Venue is proper in this district pursuant to 28 U.S.C. § 1409.

       7.      All conditions precedent to the filing of this action have been performed, waived,

satisfied or have occurred.




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                                FACTS COMMON TO ALL CLAIMS

        8.      Prior to the Petition Date, the Defendant received from one or more transfers,

including but not necessarily limited to those detailed in Exhibit A, which are at issue in this

case (the “Transfers”). Exhibit A identifies, among other things, the Defendant’s name, the

particular Debtor who made each of the Transfers to Defendant, the check number or wire for

each of the Transfers, the check clear date or wire date for each of the Transfers and the check or

wire amount for each of the Transfers. Each of the Transfers listed on Exhibit A was made from

a bank account that was property of the particular Debtor identified on Exhibit A.

        9.      The Debtor or Debtors listed on the attached Exhibit “A” made the Transfers to

the Defendant on or within ninety (90) days prior to the Petition Date.

                                         COUNT I
                     AVOIDANCE AND RECOVERY OF PREFERENTIAL TRANSFERS
                          PURSUANT TO 11 U.S.C. §§ 547(B) AND 550(A)

        Plaintiff sues Defendant and alleges:

        10.     Plaintiff repeats and realleges each and every allegation in Paragraphs 1 through 9

as if fully set forth herein.

        11.     This is an action by Plaintiff against Defendant to avoid and recover preferential

transfers made to or for the benefit of Defendant pursuant to 11 U.S.C. §§ 547(b) and 550(a).

        12.     The Transfers at issue constituted transfers of the particular Debtor’s interest in

property.

        13.     The Transfers were made:

                a.       to or for the benefit of the Defendant, who, at all relevant times, was a

creditor of the Debtor who made the particular Transfer;




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               b.     for or on account of an antecedent debt owed by the particular Debtor to

the Defendant before such Transfers were made; and

               c.     while the Debtor was insolvent.

       14.     The Transfers to the Defendant enabled the Defendant to receive more than it

would have received if:

               a.     this case were a case under Chapter 7 of the Bankruptcy Code;

               b.     the Transfers had not been made; and

               c.     the Defendant received a payment of such debt to the extent provided by

the provisions of the Bankruptcy Code.

       15.     By reason of the foregoing, the Transfers are avoidable by Plaintiff on behalf of

the estate pursuant to 11 U.S.C. § 547(b).

       16.     Plaintiff is entitled to recover the amount or value of the Transfers from the

Defendant pursuant to 11 U.S.C. § 550(a).

       WHEREFORE, Plaintiff demands the entry of judgment against the Defendant: (i)

avoiding the Transfers to the Defendant pursuant to 11 U.S.C. § 547(b); (ii) awarding a money

judgment to Plaintiff in an amount equal to the amount of the Transfers pursuant to 11 U.S.C. §

550(a); (iii) awarding pre-judgment interest; (iv) disallowing any claim that the Defendant may

have against the Debtors’ bankruptcy estates until such time as the Defendant pays the Transfers

asserted herein as provided in 11 U.S.C. § 502(d); and (v) awarding any other relief the Court

deems appropriate.




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Dated on this 25th day of June, 2012.

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